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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA

                      CASE NO . l5-6O423-CIV-ZLOCH


FEDERAL TRADE COMMISSION ,
et al .,                                 CONSENT FINAL JUDGMENTS AS QO
                                           FRED ACCUARD I; TELZPHONE
                  Plaintiffs,             MRNAGEMENT CORPORATION ; TM
VS.                                         CALLER ID , LLC ' PA CIFIC
                                        TELECOM COMW N ICATION S GROUP ;
                                            INTERNATIONAL TELEPHONE
CARIBBEAN CRUISE LINE, INC .,           CORPORATION ; AND INTERNATIONAL
et a1 .,                                         TELEPHONE . LLC

                  Defendants .
                                    /
      THIS MATTER is before the Court upon the Unopposed Motion To
Approve Stipulated Order For Permanent Injunction (DE 90). The
Court has carefully reviewed said Motion , the entire court fi1e and
is otherwise fully advised in the premises .
      The Court notes that Defendants Fred Accuardi, Telephone
Management    Corporation,     TM   Caller    1D,   LLC ,   Pacific   Telecom
Communications Group, International Telephone Corporation, and
International Telephone, LLC (collectivelyr the 'lpacific Telecom
Defendants''), consent to the entry of the permanent injunction and
civil penalty against them sought herein, which resolve a11 pending
claim s in the above-styled cause .
      Accordingly, after due consideration,            is
      OM EM D AHn M JX GED as follows :
     1. The Court has jurisdiction over the Parties hereto and the
sublect matter herein;
          The Unopposed Motion To Approve Stipulated Order For
Permanent Injunction (DE 90) be and the same is hereby GRU TED;
          Pursuant       Federal Rule          Civil Procedure          Final
 Judgment be and the same is hereby ENTEM D in favor of Plaintiffs
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and   against    Defendants    Fred   Accuardi,       Telephone   Management
Corporation, TM Caller ID, LLC , Pacific Telecom Communications
Group r International Telephone        Corporation , and      International
Telephone,        (collectively, the nPacific Telecom Defendants'');
      4. The Stipulated Order For Permanent Injunction And Civil
Penalty Judgment Against Pacific Telecom Defendants (DE 90-1) be
and the same        hereby approved, adopted , and ratified;
      5. The Court shall retain lurisdiction as to Defendants Fred
A ccuardi, Telephone Management Corporation, TM Caller ID, LLC,
Pacific   Telecom    Communications    Group,   International      Telephone
Corporation, and International Telephone, LLC (collectively, the
nPacific Telecom Defendants''), solely for the purposes of enforcing
the Stipulated Order (DE 90-1)7 and
      6. To the extent not otherwise disposed of herein , al1 pending
motions are hereby DENIED as moot .
      DONE AHn ORDERED
                            inJ?c
                            /   kymbers at Fort Lauderdale, Broward
County, Florida p this          - day of February, 2017.

                                                  #


                                   WILLIAM J . ZLOCH
                                   United States District Judge


Copies furnished :

A1l Counsel and Parties of Record
